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                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF GEORGIA
 Fill in this information to identify your case:
 Debtor 1               Mark E Hogg
                              First Name            Middle Name                  Last Name
 Debtor 2                                                                                                              Check if this is an amended plan.
 (Spouse, if filing)          First Name            Middle Name                  Last Name


 Case number                  18-40873
 (If known)




                                                                         Chapter 13 Plan and Motion
     [Pursuant to Fed. R. Bankr. P. 3015.1, the Southern District of Georgia General Order 2017-3 adopts this form in lieu of the Official Form 113].


1.            Notices. Debtor(s) must check one box on each line to state whether or not the plan includes each of the following items. If an item
              is checked as not being contained in the plan or if neither or both boxes are checked, the provision will be ineffective if set out in
              the plan.

              (a)           This              contains nonstandard provisions. See paragraph 15 below.
                            plan:             does not contain nonstandard provisions.

              (b)           This              values the claim(s) that secures collateral. See paragraph 4(f) below.
                            plan:             does not value claim(s) that secures collateral.

              (c)           This              seeks to avoid a lien or security interest. See paragraph 8 below.
                            plan:             does not seek to avoid a lien or security interest.

2.            Plan Payments.

              (a)          The Debtor(s) shall pay to the Chapter 13 Trustee (the “Trustee”) the sum of $689.00 for the applicable commitment period of:

                               60 months: or

                               a minimum of 36 months. See 11 U.S.C. § 1325(b)(4).


              (b)          The payments under paragraph 2(a) shall be paid:

                               Pursuant to a Notice to Commence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s) upon the
                                Debtor's(s') employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the Debtor's(s')
                                employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following percentages of the
                                monthly plan payment:

                                             Debtor 1 100            %     Debtor 2      %

                               Direct to the Trustee for the following reason(s):
                                          The Debtor(s) receive(s) income solely from self-employment, Social Security, government assistance, or
                                           retirement.
                                          The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):


              (c)          Additional Payments of $0 (estimated amount) will be made on               ,   (anticipated date) from (source, including income tax
                           refunds).

3.            Long-Term Debt Payments.

              (a) Maintenance of Current Installment Payments. The Debtor(s) will make monthly payments in the manner specified as follows on the
                  following long-term debts pursuant to 11 U.S.C. § 1322(b)(5). These postpetition payments will be disbursed by either the Trustee or
                  directly by the Debtor(s), as specified below. Postpetition payments are to be applied to postpetition amounts owed for principal,
                  interest, authorized postpetition late charges and escrow, if applicable. Conduit payments that are to be made by the Trustee which


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                    become due after the filing of the petition but before the month of the first payment designated here will be added to the prepetition
                    arrearage claim.

                                                                  PAYMENTS TO
                                                                  MADE BY                                                                   INITIAL
                                                  PRINCIPAL       (TRUSTEE OR                     MONTH OF FIRST POSTPETITION               MONTHLY
 CREDITOR              COLLATERAL                 RESIDENCE (Y/N) DEBTOR(S))                      PAYMENT TO CREDITOR                       PAYMENT


             (b) Cure of Arrearage on Long-Term Debt. Pursuant to 11 U.S.C. § 1322(b)(5), prepetition arrearage claims will be paid in full through
                 disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition arrearage payments are to be applied to
                 prepetition amounts owed as evidenced by the allowed claim.

                                                                                                                                   INTEREST RATE ON
                                          DESCRIPTION OF                      PRINCIPAL RESIDENCE      ESTIMATED AMOUNT            ARREARAGE (if
 CREDITOR                                 COLLATERAL                          (Y/N)                    OF ARREARAGE                applicable)


4.           Treatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated otherwise:
             (a)     Trustee’s Fees. The Trustee percentage fee as set by the United States Trustee.

             (b)           Attorney’s Fees. Attorney’s fees allowed pursuant to 11 U.S.C. § 507(a)(2) of $4,500.00.

             (c)        Priority Claims. Other 11 U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of the
              plan as funds become available in the order specified by law.

             (d)           Fully Secured Allowed Claims. All allowed claims that are fully secured shall be paid through the plan as set forth below.

                                          DESCRIPTION OF
 CREDITOR                                 COLLATERAL                          ESTIMATED CLAIM          INTEREST RATE               MONTHLY PAYMENT
 -NONE-

             (e)           Secured Claims Excluded from 11 U.S.C. § 506 (those claims subject to the hanging paragraph of 11 U.S.C. § 1325(a)).
                           The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a purchase money
                           security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within 1 year of the petition date
                           and secured by a purchase money security interest in any other thing of value. These claims will be paid in full under the plan
                           with interest at the rate stated below:

                                          DESCRIPTION OF
 CREDITOR                                 COLLATERAL                          ESTIMATED CLAIM          INTEREST RATE               MONTHLY PAYMENT


 Wells Fargo Dealer                       2016 Toyota Camry SE                             23,447.00 5.00%                                          $150/ 10 mo
 Services                                 27,000 miles                                                                                             then $575.00

             (f)           Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims partially
                           secured by collateral pursuant to 11 U.S.C. § 506 and provide payment in satisfaction of those claims as set forth below. The
                           unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The plan shall be
                           served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor(s) shall attach a certificate of
                           service.

                                          DESCRIPTION OF                      VALUATION OF
 CREDITOR                                 COLLATERAL                          SECURED CLAIM         INTEREST RATE                  MONTHLY PAYMENT
 Farmers Furniture                        HHGS                                             1,500.00 5.00%                                                      45

             (g)           Special Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at 100%

                                                           with interest at     % per annum; or   without interest:
                            None

             (h)`          General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
                           provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a 0.00% dividend or a pro rata share of $0.00, whichever
                           is greater.

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5.           Executory Contracts.
             (a)     Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).

                                          DESCRIPTION OF
                                          PROPERTY/SERVICES                                                                   DISBURSED BY
 CREDITOR                                 AND CONTRACT                   ASSUMED/REJECTED         MONTHLY PAYMENT             TRUSTEE OR DEBTORS
 -NONE-

             (b)           Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.

 CREDITOR                                                                          ESTIMATED ARREARAGE
 -NONE-

6.           Adequate Protection Payments. The Debtor(s) will make pre-confirmation lease and adequate protection payments pursuant to 11 U.S.C.
             § 1326(a)(1) on allowed claims of the following creditors: Direct to the Creditor; or To the Trustee

 CREDITOR                                                                          ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT
 -NONE-

7.           Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of such claim
             identified here. See 11 U.S.C. § 101(14A). The Trustee will provide the statutory notice of 11 U.S.C. § 1302(d) to the following
             claimant(s):

 CLAIMANT                                                                          ADDRESS
 -NONE-

8.           Lien Avoidance. Pursuant to 11 U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the following
             creditor(s), upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described below. The plan shall be served on all
             affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a certificate of service.

 CREDITOR                                                  LIEN IDENTIFICATION (if known)             PROPERTY
 Borrowersfirst                                            Non PMSI, Non Possessory                   hhgs
 Republic Finance, In 16-1462CS                            MAGISTRATE COURT OF EFFINGHAM
                                                           COUNTY CASE 16-1462CS                      All property

9.           Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown below
             upon confirmation of the plan. The Debtor(s) request(s) that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated
             as to the collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all respects. Any allowed deficiency balance resulting
             from a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph 4(h) of this plan if the creditor amends its
             previously-filed, timely claim within 180 days from entry of the order confirming this plan or by such additional time as the creditor may
             be granted upon motion filed within that 180-day period.

 CREDITOR                                                  DESCRIPTION OF COLLATERAL                  AMOUNT OF CLAIM SATISFIED
 Engs Financial                                            2011 International Prostar 373,000 miles   $17,0000

 Macdill Air Force BkGrow
 Financial FCU                           2016 Toyota Scion SI and interest in                  Full
                                         insurance proceeds
 Federal National Mortgage               90 Dailey Drive, Guyton, Ga 31312                     Full
10.      Retention of Liens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by11 U.S.C §
         1325(a)(5).

11.          Amounts of Claims and Claim Objections. The amount, and secured or unsecured status, of claims disclosed in this plan are based upon
             the best estimate and belief of the Debtor(s). An allowed proof of claim will supersede those estimated claims. In accordance with the
             Bankruptcy Code and Federal Rules of Bankruptcy Procedure objections to claims may be filed before or after confirmation.

12.          Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan proposes,after
             notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

13.          Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a creditor pursuant
             to Fed. R. Bankr. P. 3002.1(c) unless the Debtor's(s') plan is modified after the filing of the notice to provide for payment of such fees,
             expenses, or charges.

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14.          Service of Plan. Pursuant to Fed. R. Bankr. P. 3015(d) and General Order 2017-3, the Debtor(s) shall serve the Chapter 13 plan on the
             Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordingly. If the Debtor(s) seek(s) to limit
             the amount of a secured claim based on valuation of collateral (paragraph 4(f) above), seek(s) to avoid a security interest or lien (paragraph
             8 above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the plan on the affected creditors pursuant to Fed. R. Bankr. P.
             7004. See Fed. R. Bankr. P. 3012(b), 4003(d), and 9014.

15.          Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
             provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.


By signing below, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

 Dated:       July 31, 2018                                                     /s/ Mark E Hogg
                                                                                Mark E Hogg
                                                                                                                  Debtor 1


                                                                                                                  Debtor 2

                                                                                /s/ John E. Pytte
                                                                                John E. Pytte 590555
                                                                                                    Attorney for the Debtor(s)




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